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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State, Bar number, and address): FOR COURT USE ONLY
Joey Kimbrough <joey@prosejoe.com>
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E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name): BRANDON JOE WILLIAMS

United States District Court, Central District of California
STREET ADDRESS: 255 East Temple St.

MAILING ADDRESS: 255 East Temple St.
CITY AND ZIP CODE: Los Angeles 90012
BRANCH NAME: Edward R. Roybal Federal Building

PLAINTIFF/PETITIONER: BRANDON JOE WILLIAMS CASE NUMBER:

DEFENDANT/RESPONDENT: AMERICAN EXPRESS COMPANY; AMERICAN EXPRESS KABBAGE [NC 2:24-cv-01631-MWF-PVC

Ref. No. or File No.:

DECLARATION OF MAILING Brandon Joe Williams

The undersigned hereby declares: that | am over 18 years of age and not a party to this action. | am a resident of or employed in the
county where the mailing took place.

My business address is 316 W 2nd St. 3rd Floor, Los Angeles, CA 90012.

That on March 25, 2024, after substituted service was made, | mailed the following documents: SUMMONS; PLAINTIFF'S
COMPLAINT FOR DAMAGES AND JURY DEMAND to the servee in this action by placing a true copy thereof enclosed in a sealed
envelope with postage prepaid for first class mail and placing the envelope for collection and mailing following our ordinary business
practices. | am readily familiar with this business's practice for collecting and processing correspondence for mailing. On the same day
that correspondence is placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal
Service in Los Angeles, CA.

That | addressed the envelope as follows:

AMERICAN EXPRESS KABBAGE [NC.
330 N Brand Bivd Ste 700
Glendale, CA 91203

Xv4 Ad

That | declare under penalty of perjury under the laws of the State of California the foregoing is true and correct.

That | executed this declaration on 3/25/2024 at Los Angeles, CA.

Declarant: Jesus Alvarez, Reg. # 6585 V/

Tracking #: 0128052371

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